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                     UNITED STATES BANKRUPTCY COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA
____________________________________
                                     :
IN RE:                               : Case No. 23-11834-MDC
                                     :
Iris M Ortiz-Rivera                  : Chapter 13
                                     :
                                     :
                    Debtor.          : Hearing Date: November 21, 2023 at 10:30 am
                                     : Objection Deadline: November 9, 2023
___________________________________ :


                                NOTICE OF MOTION,
                          RESPONSE DEADLINE AND HEARING

        PLEASE TAKE NOTICE THAT Police and Fire Federal Credit Union (“PFFCU”) has
filed a Motion (the “Motion”) for Relief from the Automatic Stay to Exercise Rights with respect
to Debtor Iris M. Ortiz-Rivera’s 2017 Hyundai Tucson, VIN No. KM8J33A20HU365453 (the
“Vehicle”).

1.   Your rights may be affected. You should read these papers carefully and discuss them
     with your attorney, if you have one in this bankruptcy case. (If you do not have an
     attorney, you may wish to consult an attorney).

2.   If you do not want the Court to grant the relief sought in the Motion or if you want the
     Court to consider your views on the Motion, then on or before November 9, 2023, you or
     your attorney must file a response to the Motion. (See Instructions on next page).

3.   A hearing on the Motion is scheduled to be held before the Honorable Chief Judge
     Magdeline D. Coleman, on November 21, 2023 at 10:30 a.m. at the United States
     Bankruptcy Court, Courtroom #2, 900 Market Street, Philadelphia, Pennsylvania, 19107.
     Unless the court orders otherwise, the hearing on this contested matter will be an
     evidentiary hearing.

4.   If you do not file a response to the Motion, the court may cancel the hearing and enter an
     order granting the relief requested in the Motion.

5.   You may contact the Bankruptcy Clerk’s Office at 215-408-2800 to find out whether the
     hearing has been canceled because no one filed a Response.

6.   If a copy of the Motion is not enclosed, a copy of the Motion will be provided to you if you
     request a copy from the attorney whose name and address is listed on the next page of this
     Notice.




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                                         Filing Instructions

 1. If you are required to file documents electronically by Local Bankruptcy Rule 5005-1,
    you must file your response electronically.

 2. If you are not required to file electronically, you must file your response at

                               United States Bankruptcy Court
                               Eastern District Of Pennsylvania
                                        Clerk’s Office
                                 900 Market Street, Suite 400
                                    Philadelphia, PA 19107

 3. If you mail your response to the bankruptcy clerk’s office for filing, you must mail it early
    enough so that it will be received on or before the date stated in Paragraph 2 on the previous
    page of this Notice.

 4. On the same day that you file or mail your Response to the Motion, you must mail or deliver
    a copy of the Response to the movant’s attorney:

                                  Anne M. Aaronson, Esquire
                                   Yonit A. Caplow, Esquire
                                     Dilworth Paxson, LLP
                                1500 Market Street, Suite 3500E
                                    Philadelphia, PA 19102
                                         (215) 575-7000
                                      (215) 757-7200 (fax)
                                  aaaronson@dilworthlaw.com


Dated: October 26, 2023

                                                    /s/ Anne M. Aaronson
                                                    DILWORTH PAXSON LLP
                                                    Anne M. Aaronson
                                                    Yonit A. Caplow
                                                    1500 Market St., Suite 3500E
                                                    Philadelphia, PA 19102
                                                    Telephone: (215) 575-7000
                                                    Facsimile: (215) 575-7200

                                                    Attorneys for Police and Fire Federal Credit
                                                    Union




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